Case No. 1:22-cv-01129-NYW-SBP         Document 219-1      filed 11/03/23   USDC Colorado
                                         pg 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:22-cv-01129

 ERIC COOMER, PhD.,

          Plaintiff,

 v.

 MICHAEL J. LINDELL, FRANKSPEECH LLC, AND MY PILLOW, INC.,


          Defendants.


           EXHIBIT A – CDS REDACTED VERSIONS OF CONFIDENTIAL
                              INFORMATION


          COMES NOW, Interested Party, CD Solutions, Inc. (“CDS”), a foreign corporation,

 through its counsel, Coombe Curry Rich & Jarvis, and hereby respectfully submits Exhibit

 A – CDS Redacted Versions of Confidential Information as follows. Exhibit A narrowly

 redacts information found in Documents 113-6 through 113-13, 113-15, and Doc. 121-5.


  [Doc. #] Personal
           Info?               Description and Specific Page Where Redactions
                                                 are Made

  113-6         NO           Signal Chat between Joe Oltmann and Paul Watney; No
                             redactions.
  113-7         YES          CJ Bayon Facebook page linked, page 156, 5th entry; Joshua
                             Hammerling cell phone number, page 415, 3rd entry;
                             Personal link for Joshua Hammerling page 491, 3rd entry;
                             Facebook link for Annie Orlowski, page 521, 1st entry; Phone
                             and email information for Peg Lusik, page 594, 5th entry;
                             Chaz phone number page 637, 6th entry; Three CO school of
                             mines personal emails page 671, last entry; Joshua
                             Hammerling phone number, page 840, 7th entry; Max
Case No. 1:22-cv-01129-NYW-SBP    Document 219-1      filed 11/03/23    USDC Colorado
                                    pg 2 of 3




                       McGuire email, page 846 2nd entry; Max phone number,
                       page 1001, 4th entry.
  113-8     YES        Joe Oltman phone number page 2-156; Joe Oltmann phone
                       number, page 2, 11th entry; Max McGuire’s son’s medical
                       information, page 4, 19th entry; Max McGuire’s son’s medical
                       information, page 5, 2nd entry; Joe Oltmann address, page 8,
                       12th entry; Max McGuire email address, page 24, 3rd entry;
                       Joe Oltmann phone number, page 34, 8th entry and 14th
                       entry; Joe Oltmann’s mother’s medical information, page
                       46, entries no. 12 and 13; Joe Oltmann’s mother medical
                       information, page 46 last entry – page 47, first entry; Date of
                       birth information for Max and Annie McGuire, last entry
                       page 58 – page 59, 2nd entry; Max McGuire’s son’s medical
                       information page 69, entries 19 and 20; Wifi password, page
                       70, entry 9; CD Solutions bank account information, page
                       77, 8th entry (redactions for account balance, account
                       number, and routing number); Joe Oltmann’s medical
                       information, page 139, 5th entry; Joe Oltman’s cousin
                       medical information, page 146, 1st entry; Max McGuire
                       phone and email address, page 147, 8th entry; Max McGuire
                       email, page 150, 15th entry; Max McGuire email, page 151, 8th
                       entry; page 153, 8th entry.
  113-9     YES        Josh’s wife’s medical information, page 3, 5th entry; Max
                       McGuire email, page 21, 10th entry; Josh phone number,
                       page 26, 4th entry; Josh’s father in law medical information,
                       page 36, 9th entry; Josh’s address, Page 39, 9th entry; Josh
                       phone number, page 2-44.
  113-10    YES        Josh phone number, page 29 – 316; Max McGuire personal
                       medical information, page 15, 8th text entry; Joe Oltmann
                       phone number, page 29, 11th entry; Max McGuire’s son’s
                       medical information, page 31, 2nd entry; Max McGuire’s
                       son’s medical information, page 31, line 19; Joe Oltmann’s
                       address, page 35, 12th entry; Max McGuire’s email address,
                       page 51, 3rd entry; Joe Oltmann phone number, page 61, 8th
                       entry and 14th entry; Joe Oltmann’s mother’s medical
                       information, page 73, entries no. 12 and 13; Joe Oltmann’s
                       mother medical information, page 73 last entry – page 74,
                       first entry; Date of birth information for Max and Annie
                       McGuire, last entry page 85 – page 86, 2nd entry; Max
                       McGuire’s son’s medical information page 96, entries 19 and
                       20; Wifi password, page 97 entry 9; CD Solutions bank
                       account information, page 104, 8th entry (redactions for
                       account balance, account number, and routing number); Joe
                       Oltmann’s medical information, page 166, 5th entry; Joe

                                        2
Case No. 1:22-cv-01129-NYW-SBP   Document 219-1     filed 11/03/23   USDC Colorado
                                   pg 3 of 3




                       Oltman’s cousin medical information, page 173, 1st entry;
                       Max McGuire phone and email address, page 174, 8th entry;
                       Max McGuire’s email, page 177, 15th entry; Max McGuire’s
                       email, page 178, 8th entry; page 180, 8th entry.
  113-11    YES        Josh phone number, page 10-96; Josh phone number, page
                       5, 2nd entry; Josh address, page 77, 2nd entry.
  113-12    YES        Josh Phone Pg. 2-90; Lee McGuire Phone Pg. 91-96; Max
                       McGuire email, page 67; Josh Phone page 72; Josh Address
                       page 85.
  113-13    YES        Josh phone number, page 2 – 63.
  113-15    NO         Text Message Chat between “Me,” Josh, and Keith
                       Sawarynski; No Redactions.
  121-5     NO         Signal Chat bet11ween Joe Oltmann and Paul Watney; No
                       redactions.




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